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                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION

 MATTHEW FOOSANER,

               Plaintiff,

      V.                                              No. l:22-cv-00521-RDA-JFA


 CROWN CASTLE USA INC.,

               Defendant.


                                     [PnOPO«!H*D1 ORDER


           Upon consideration of Defendant Crown Castle USA Inc.'s Consent Motion to Extend

  Time to Respond to Plaintiffs Amended Complaint, it is hereby ORDERED that the Motion is

  GRANTED.Defendant shall have up to and including September 15,2023, to answer or otherwise

  respond to Plaintiffs Amended Complaint.

           SO ORDERED this the*^^ day of                2023.
                                                                  /S/
                                                     John F. Anderson


                                                   U.S. Magistrate Judge
